Case 17-17023-amc        Doc 46    Filed 08/21/18 Entered 08/21/18 15:47:24            Desc Main
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Counsel for Debtors’ request to retain jurisdiction at the Motion to Dismiss hearing on
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